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                       IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF UTAH

TRACY TANNER, individually and on behalf
of all others similarly situated,                                 Civil Action No.

       Plaintiff,
                                                      CLASS ACTION COMPLAINT FOR
       v.                                                         DAMAGES
                                                         (with Jury Demand Requested)
SNAP FINANCE LLC, and SNAP RTO LLC

       Defendants.




       Plaintiff Tracy Tanner (“Plaintiff’ or “Tanner”), individually and on behalf of all others

similarly situated, through counsel, brings this action against Defendants Snap Finance LLC (‘SF”)

and Snap RTO LLC (“SP”) (collectively, “Defendants”), and alleges upon personal knowledge as

to his own actions and experiences, and upon investigation, information, and belief as to all other

matters, as follows:

                                       INTRODUCTION

       1.      This consumer data breach lawsuit arises out of Defendants’ failure to implement

and maintain adequate security and safeguards with respect to the collection and maintenance of


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highly sensitive and confidential personal information of their customers, including Plaintiff’s and

Class members’ names, social security numbers, driver’s license numbers, state identification

numbers, and financial account numbers. Defendants’ insufficient and unreasonable data security

practices caused, facilitated, and exacerbated the data breach and its impact on Plaintiff and Class

members.

       2.      Defendants are finance companies that offer direct loans and secured financing to

consumers across the United States.

       3.      On December 1, 2022, Defendants sent to Plaintiff and Class members a letter

entitled “Notice of Security Incident” (“Notice”). See Notice, attached hereto as Exhibit 1. The

Notice stated that, between June 23, 2022 and September 8, 2022, an unauthorized actor had the

ability to access certain information stored on Defendants’ network (the “Data Breach”).

According to Defendants, on or about October 28, 2022, Defendants determined through their

ongoing investigation that personal information of their customers was affected. Although

Defendants identified suspicious activity much earlier, Defendants did not warn those most at risk–

–Plaintiff and Class members––until December 1, 2022.

       4.      The Data Breach exposed Plaintiff’s and Class members’ personally identifiable

information to criminals, including, but not limited to, their names, social security numbers,

driver’s license numbers, state identification numbers, and financial account numbers. Because

Defendants hold loans and collateral on those loans, Plaintiff and Class members reasonably

believe additional information concerning their finances, personal accounts, credit files, and

property information, as well as all other types of information concerning themselves and their

loans obtained by Defendants, are also exposed. All of the foregoing information pertaining to

Plaintiff and Class members is referred to herein as “PII.”



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          5.     The PII that Defendants failed to protect with reasonable safeguards can be used by

criminals alone, and in conjunction with other pieces of information, to perpetrate crimes against

Plaintiff and Class members that can result in significant liability and damage to their money,

property, creditworthiness, reputation, and their ability to prove their identity, pay current loans,

improve their credit, and/or obtain loans on favorable terms in the future.

          6.     Plaintiff and Class members entrusted Defendants with their PII. Defendants

understand the importance of protecting such information. For example, on one of Defendants’

websites, it states “How Snap protects your information” and explains that “Snap stores and

processes your information maintaining physical, electronic and procedural safeguards. We

maintain physical security measures to guard against unauthorized access to systems and use

safeguards such as firewalls and data encryption. We enforce physical access controls to our

buildings, and we authorize access to personal information only for those employees or contractors

who require it to fulfill the responsibilities of their jobs.”1

          7.     Defendants’ representations concerning privacy practices and data security were

false. Defendants do not state the date they began investigating the incident, only that on or around

October 28, 2022, Defendants completed their review and determined that their customers’

information was accessed in the Data Breach that occurred between June 23, 2022 and September

8, 2022. Criminals breached Defendants’ inadequately defended systems, and accessed and

acquired electronic files containing the PII of Plaintiff and Class members. The criminals gained

unauthorized access by thwarting, circumventing, and defeating Defendants’ unreasonably

deficient data security measures and protocols. Defendants did not start notifying Plaintiff and

Class members of the Data Breach until on or around December 1, 2022.



1
    See https://snapfinance.com/legal/privacy.
                                                    3
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       8.      Plaintiff, individually, and on behalf of all persons similarly situated, seeks to be

made whole for the losses incurred as a result of the Data Breach, and the losses that will be

incurred in the future. Plaintiff also seeks injunctive relief in the form of compliant data security

practices, full disclosure regarding the disposition of the information in Defendants’ systems, and

monitoring and audits of Defendants’ security practices going forward because Defendants

continue to collect, maintain, and store Plaintiff’s and Class members’ PII.

                          PARTIES, JURISDICTION, AND VENUE

       9.      Plaintiff Tracy Tanner is a resident and citizen of Ohio.

       10.     Defendant Snap Finance LLC is a Utah limited liability company with its principal

place of business in South West Valley, Utah.

       11.     Defendant SNAP RTO LLC is a Utah limited liability company with its principal

place of business in South Salt Lake City, Utah.

       12.     The Court has original jurisdiction under the Class Action Fairness Act (“CAFA”),

28 U.S.C. § 1332(d)(2), because this is a class action involving 100 or more Class members and

the amount in controversy exceeds $5,000,000, exclusive of interest and costs. Many members of

the Class, including Plaintiff, are citizens of different states from Defendants.

       13.     Venue is proper in this District under 28 U.S.C. §§ 1391(a)(2), 1391(b)(2), and

1391(c)(2), as a substantial part of the events giving rise to the claims emanated from activities

within this District, and Defendants conducts substantial business in this District.

                                  GENERAL ALLEGATIONS

                                         The Data Breach

       14.     On or about December 1, 2022, Defendants provided the Notice to Plaintiff and

Class members. In the Notice, Defendants state that between June 23, 2022 and September 8,



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2022, an unauthorized third party acquired information from some of Defendants’ systems that

contain the PII of Plaintiff and Class members.

       15.      The Notice states that Plaintiff’s and Class members’ PII was accessed by an

unauthorized person in the Data Breach.

       16.      The Notice states that Plaintiff’s and Class members’ PII accessed in the Data

Breach includes their names, social security numbers, driver’s license numbers, state identification

numbers, and financial account numbers.

       17.      The Notice does not state when the Data Breach was first detected.

       18.      The Notice states that “on October 28, 2022, Snap completed this review and

determined the data [accessed in the Data Breach] contained certain information related to you.”

Defendants did not publicly announce the Data Breach, or notify those whose PII was accessed by

criminals in the Data, at the time they completed their “review” of the scope and extent of the Data

Breach.

                               Industry Standards for Data Security

       19.      Defendants are aware of the importance of safeguarding Plaintiff’s and Class

members’ PII, that by virtue of their business, they owe duties to Plaintiff and Class members to

take reasonable measures to safeguard PII that foreseeably is targeted by criminals.

       20.      Defendants are aware that the PII that they collect, organize, and store, can be used

by criminals to engage in crimes such as identity fraud and theft using Plaintiff’s and Class

members’ PII.

       21.      Because of Defendants’ failure to implement, maintain, and comply with necessary

cybersecurity requirements, Defendants were unable to protect Plaintiff’s and Class members’

information and confidentiality, and protect against obvious and readily foreseeable threats to



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information security and confidentiality. As a proximate result of such failures, criminals gained

unauthorized access to Defendants’ systems, and acquired Plaintiff’s and Class members’ PII in

the Data Breach without being stopped.

       22.     Defendants were unable to prevent the Data Breach, and were unable to detect the

unauthorized access to vast quantities of sensitive and protected files containing protected

information of Plaintiff and Class members. Discovery on Defendants, law enforcement

investigators, and private investigators, will reveal more specific facts about Defendants’ deficient

and unreasonable security procedures.

       23.     Security standards commonly accepted among businesses that store personal

information using the Internet include, without limitation:

               a)      Maintaining a secure firewall configuration;

               b)      Monitoring for suspicious or irregular traffic to servers;

               c)      Monitoring for suspicious credentials used to access servers;

               d)      Monitoring for suspicious or irregular activity by known users;

               e)      Monitoring for suspicious or unknown users;

               f)      Monitoring for suspicious or irregular server requests;

               g)      Monitoring for server requests for personal information;

               h)      Monitoring for server requests from VPNs; and

               i)      Monitoring for server requests from Tor exit nodes.




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       24.     The U.S. Federal Trade Commission (“FTC”) publishes guides for businesses for

cybersecurity2 and protection of personal information3 which includes basic security standards

applicable to all types of businesses.

       25.     The FTC recommends that businesses:

               a)      Identify all connections to the computers where you store sensitive
                       information;

               b)      Assess the vulnerability of each connection to commonly known or
                       reasonably foreseeable attacks;

               c)      Do not store sensitive consumer data on any computer with an internet
                       connection unless it is essential for conducting their business;

               d)      Scan computers on their network to identify and profile the operating
                       system and open network services. If services are not needed, they should
                       be disabled to prevent hacks or other potential security problems. For
                       example, if email service or an internet connection is not necessary on a
                       certain computer, a business should consider closing the ports to those
                       services on that computer to prevent unauthorized access to that machine;

               e)      Pay particular attention to the security of their web applications—the
                       software used to give information to visitors to their websites and to retrieve
                       information from them. Web applications may be particularly vulnerable to
                       a variety of hack attacks;

               f)      Use a firewall to protect their computers from hacker attacks while it is
                       connected to a network, especially the internet;

               g)      Determine whether a border firewall should be installed where the
                       business’s network connects to the internet. A border firewall separates the
                       network from the internet and may prevent an attacker from gaining access
                       to a computer on the network where sensitive information is stored. Set
                       access controls—settings that determine which devices and traffic get
                       through the firewall—to allow only trusted devices with a legitimate
                       business need to access the network. Since the protection a firewall provides
                       is only as effective as its access controls, they should be reviewed
                       periodically;
2
  See F.T.C., Start with Security: A Guide for Business, (June 2015), https://www.ftc.gov/business-
guidance/resources/start-security-guide-business.
3
   See F.T.C., Protecting Personal Information: A Guide for Business, (Oct. 2016),
https://www.ftc.gov/system/files/documents/plain-language/pdf-0136_proteting-personal-
information.pdf.
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                  h)     Monitor incoming traffic for signs that someone is trying to hack in. Keep
                         an eye out for activity from new users, multiple log-in attempts from
                         unknown users or computers, and higher-than-average traffic at unusual
                         times of the day; and

                  i)     Monitor outgoing traffic for signs of a data breach. Watch for unexpectedly
                         large amounts of data being transmitted from their system to an unknown
                         user. If large amounts of information are being transmitted from a business’
                         network, the transmission should be investigated to make sure it is
                         authorized.

       26.        The FTC has brought enforcement actions against businesses for failing to

adequately and reasonably protect customer information, treating the failure to employ reasonable

and appropriate measures to protect against unauthorized access to confidential consumer data as

an unfair act or practice prohibited by Section 5 of the Federal Trade Commission Act (“FTC

Act”), 15 U.S.C. § 45. Orders resulting from these actions further clarify the measures businesses

must take to meet their data security obligations.4

       27.        Because Defendants were entrusted with consumers’ PII, they have a duty to keep

the PII secure.

       28.        Plaintiff and Class members reasonably expect that when they provide their PII to

a company, the company will take reasonable measures to safeguard their PII from foreseeable

cyberattacks.

       29.        Despite Defendants’ obligations, Defendants failed to upgrade and maintain their

data security systems in a meaningful way so as to prevent the Data Breach.

       30.        Specifically, in breach of their duties, Defendants failed to:

                  a)     Replace email filtering tools, malware software, and Internet monitoring
                         tools with more robust solutions that utilize artificial intelligence (“AI”) to
                         detect and block known and newly introduced malware;


4
  F.T.C., Privacy and Security Enforcement: Press Releases, https://www.ftc.gov/news-
events/media-resources/protecting-consumer-privacy/privacy-security-enforcement.
                                                    8
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        b)    Block all inbound and outbound Internet, email, and network traffic to
              foreign countries;

        c)    Maintain a secure firewall configuration;

        d)    Monitor for suspicious or irregular traffic to servers;

        e)    Monitor for suspicious credentials used to access servers;

        f)    Monitor for suspicious or irregular activity by known users;

        g)    Monitor for suspicious or unknown users;

        h)    Monitor for suspicious or irregular server requests;

        i)    Monitor for server requests for personal and financial information;

        j)    Monitor for server requests from VPNs;

        k)    Monitor for server requests from Tor exit nodes;

        l)    Identify all connections to the computers where Defendants store sensitive
              information;

        m)    Assess the vulnerability of each connection to commonly known or
              reasonably foreseeable attacks;

        n)    Scan computers on Defendants’ network to identify and profile the
              operating system and open network services, and disable services that are
              not needed to prevent hacks or other potential security problems;

        o)    Pay particular attention to the security of Defendants’ web applications—
              the software used to give information to visitors to their websites and to
              retrieve information from them;

        p)    Use a firewall to protect Defendants’ computers from hacker attacks while
              they are connected to a network, especially the Internet;

        q)    Not store sensitive consumer data on any computer with an internet
              connection unless it is essential for conducting their business;

        r)    Determine whether a border firewall should be installed where the
              business’s network connects to the internet. A border firewall separates the
              network from the internet and may prevent an attacker from gaining access
              to a computer on the network where sensitive information is stored. Set
              access controls—settings that determine which devices and traffic get
              through the firewall—to allow only trusted devices with a legitimate
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                        business need to access the network. Since the protection a firewall provides
                        is only as effective as its access controls, they should be reviewed
                        periodically;

               s)       Monitor incoming traffic for signs that someone is trying to hack in. Keep
                        an eye out for activity from new users, multiple log-in attempts from
                        unknown users or computers, and higher-than-average traffic at unusual
                        times of the day; and

               t)       Monitor outgoing traffic for signs of a data breach. Watch for unexpectedly
                        large amounts of data being transmitted from their system to an unknown
                        user. If large amounts of information are being transmitted from a business’
                        network, the transmission should be investigated to make sure it is
                        authorized.

       31.     Had Defendants properly maintained their systems and adequately protected them,

Defendants could have prevented the Data Breach.

                      Defendants Owed Duties to Plaintiff and Class Members
                          to Adequately Secure and Safeguard Their PII

       32.     Defendants are aware of the importance of security in maintaining personal

information (particularly sensitive personal information), and the value consumers place on

keeping their PII secure.

       33.     Defendants owe duties to Plaintiff and Class members to maintain adequate security

and safeguards to protect the confidentiality of their PII.

       34.     Defendants owe further duties to customers to immediately and accurately notify

them of a breach of their systems to protect them from identity theft and other misuse of their

personal data and to take adequate measures to prevent further breaches.

                 The Categories of PII at Issue Here Are Valuable to Criminals

       35.     Businesses that solicit, aggregate, and store sensitive PII are likely to be targeted

by cyber criminals.

       36.     The FTC has released its updated publication on protecting PII for businesses,

which includes instructions on protecting PII, properly disposing of PII, understanding network

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vulnerabilities, implementing policies to correct security problems, using intrusion detection

programs, monitoring data traffic, and having in place a response plan.

         37.     The FTC has, upon information and belief, brought enforcement actions against

businesses for failing to protect PII. The FTC has done this by treating a failure to employ

reasonable measures to protect against unauthorized access to PII as a violation of the FTC Act,

15 U.S.C. § 45.

         38.     General policy reasons support such an approach. A person whose personal

information has been compromised may not see any signs of identity theft for years. According to

a U.S. Government Accountability Office report:

                 [L]aw enforcement officials told us that in some cases, stolen data may be
                 held for up to a year or more before being used to commit identity theft.
                 Further, once stolen data have been sold or posted on the Web, fraudulent
                 use of that information may continue for years. As a result, studies that
                 attempt to measure the harm resulting from data breaches cannot necessarily
                 rule out all future harm.5

         39.     Companies recognize that PII is a valuable asset. Indeed, PII is a valuable

commodity. A “cyber black-market” exists in which criminals openly post PII on a number of

Internet websites. Plaintiff’s and Class members’ personal data that was stolen has a high value on

both legitimate and black markets.

         40.     At an FTC public workshop in 2001, then-Commissioner Orson Swindle described

the value of a consumer’s personal information as follows:

                 The use of third party information from public records, information
                 aggregators and even competitors for marketing has become a major
                 facilitator of our retail economy. Even [Federal Reserve] Chairman [Alan]
                 Greenspan suggested here some time ago that it’s something on the order of




5
    See https://www.gao.gov/assets/gao-07-737.pdf at 29.
                                                 11
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                the life blood, the free flow of information.6

        41.     Individuals rightfully place a high value not only on their PII, but also on the

privacy of that data. Researchers have already begun to shed light on how much individuals value

their data privacy—and the amount is considerable.

        42.     Notably, one study on website privacy determined that U.S. consumers valued the

restriction of improper access to their personal information—the very injury at issue here—

between $11.33 and $16.58 per website. 7 The study also determined that “[a]mong U.S. subjects,

protection against errors, improper access, and secondary use of personal information is worth

US$30.49 – 44.62.”8 This study was done in 2002. The sea-change in how pervasive the Internet

is in everyday lives since then indicates that these values—when associated with the loss of PII to

bad actors—would be exponentially higher today.

        43.     Identity thieves may commit various types of crimes such as immigration fraud,

obtaining a driver’s license or identification card in the victim’s name but with another’s picture,

and/or using the victim’s information to obtain a fraudulent tax refund or fraudulent unemployment

benefits. The United States government and privacy experts acknowledge that it may take years

for identity theft to come to light and be detected.

        44.     To date, Defendants have only offered Plaintiff and Class members 12 months of

identity theft protection. However, this is insufficient considering the fact that Plaintiff’s and Class

members’ PII will be used by identity thieves for many years to come.



6
  FEDERAL TRADE COMMISSION, The Information Marketplace: Merging and Exchanging
Consumer Data, transcript, p. 8, available at http://www.ftc.gov/news-events/events-
calendar/2001/03/information-marketplace-merging-exchanging-consumer-data.
7
   Hann, Hui, et al, The Value of Online Information Privacy: Evidence from the USA and
Singapore, at p. 17, Oct. 2002, available at https://www.comp.nus. edu.sg/~ipng/research/privacy.
Pdf.
8
  Id.
                                                  12
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       45.     The information Defendants allowed to be compromised and taken is of such that

the harms to Plaintiff and the Class will continue to grow, and Plaintiff and Class members will

continue to be at substantial risk for further imminent and future harm.

                                   Damages from Data Breaches

       46.     According to Javelin Strategy & Research, in 2017 alone over 16.7 million

individuals were affected by identity theft, causing $16.8 billion to be stolen.

       47.     Consumers place a high value not only on their personal information, but also on

the privacy of that data. This is because identity theft causes “significant negative financial impact

on victims” as well as severe distress and other strong emotions and physical reactions.

       48.     The United States Government Accountability Office explains that “[t]he term

‘identity theft’ is broad and encompasses many types of criminal activities, including fraud on

existing accounts—such as unauthorized use of a stolen credit card number—or fraudulent

creation of new accounts—such as using stolen data to open a credit card account in someone

else’s name.” See In re Zappos.com, Inc., 888 F.3d 1020, 1024 (9th Cir. 2018). The GAO Report

notes that victims of identity theft will face “substantial costs and time to repair the damage to

their good name and credit record.”

       49.     The FTC recommends that identity theft victims take several steps to protect their

personal information after a data breach, including contacting one of the credit bureaus to place a

fraud alert (consider an extended fraud alert that lasts for 7 years if someone steals their identity),

reviewing their credit reports often, contacting companies to remove fraudulent charges from their

accounts, placing a credit freeze on their credit, and correcting their credit reports.

       50.     Identity thieves use stolen personal information for “various types of criminal

activities, such as when personal and financial is used to commit fraud or other crimes,” including



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“credit card fraud, phone or utilities fraud, bank fraud and government fraud.” In re Zappos.com,

Inc., 888 F.3d at 1024. The information exfiltrated in the Data Breach can also be used to commit

identity theft by placing Plaintiff and Class members at a higher risk of “phishing,” “vishing,”

“smishing,” and “pharming,” which are which are ways for hackers to exploit information they

already have to get even more personally identifying information through unsolicited email, text

messages, and telephone calls purportedly from a legitimate company requesting personal,

financial, and/or login credentials.

       51.     There may be a time lag between when harm occurs versus when it is discovered,

and also between when personal information is stolen and when it is used. According to the U.S.

Government Accountability Office, which conducted a study regarding data breaches:

               [L]aw enforcement officials told us that in some cases, stolen data may be
               held for up to a year or more before being used to commit identity theft.
               Further, once stolen data have been sold or posted on the Web, fraudulent
               use of that information may continue for years. As a result, studies that
               attempt to measure the harm resulting from data breaches cannot necessarily
               rule out all future harm.

               See GAO Report, at p. 29.

       52.     Personal information is such a valuable commodity to identity thieves that once the

information has been compromised, criminals often trade the information on the “cyber

blackmarket” for years.

       53.     Thus, there is a strong probability that entire batches of stolen information have

been dumped on the black market, or are yet to be dumped on the black market, meaning Plaintiff

and Class members are at an increased risk of fraud and identity theft for many years into the

future. This is why Defendants’ one-year credit monitoring offering is inadequate.

       54.     Data breaches are preventable. As Lucy Thompson wrote in the DATA BREACH

AND ENCRYPTION HANDBOOK, “In almost all cases, the data breaches that occurred could

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have been prevented by proper planning and the correct design and implementation of appropriate

security solutions.” She added that “[o]rganizations that collect, use, store, and share sensitive

personal data must accept responsibility for protecting the information and ensuring that it is not

compromised . . . .”

       55.     “Most of the reported data breaches are a result of lax security and the failure to

create or enforce appropriate security policies, rules, and procedures. . . . Appropriate information

security controls, including encryption, must be implemented and enforced in a rigorous and

disciplined manner so that a data breach never occurs.”

       56.     Indeed, here Defendants took actions to secure the affected systems after the Data

Breach, but should have implemented those actions previously to prevent the Data Breach.

       57.     The types of information Defendants acknowledges were stolen by the criminals

are sufficiently sensitive and valuable to identity thieves and criminals in perpetrating identity

crimes. This information can be used to perpetrate scams, victimize the persons who own the

information, and commit identity theft and fraud.

       58.     Criminals can use PII to devise and employ phishing and social engineering

schemes capitalizing on the genuine information stolen from Defendants to send fraudulent mail

and other communications to Plaintiff and Class members that look authentic, but which are

designed to lure them into paying money or providing other information that the criminals can use

to steal money.

                                     Facts Related to Plaintiff

       59.     On or about April 18, 2022 and again on May 4, 2022, Plaintiff visited Defendants’

website to fill out applications for a lease purchase agreement for an item for personal use. Plaintiff

provided his PII to Defendants, including his name, address, social security number, and driver’s



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license number. Defendants never loaned Plaintiff any funds, but retained his PII without any

further business purpose.

       60.     Plaintiff received notifications in July 2022 and August 2022 that a third party had

attempted to open financial accounts in his name with Wells Fargo Bank. Plaintiff had to spend at

least 50 hours taking measures to dispute the accounts, prevent the opening of fraudulent accounts

using his PII, and reviewing his financial accounts and his credit reports.

                             Plaintiff’s and Class Members’ Damages

       61.     As a direct and proximate result of Defendants’ conduct, Plaintiff and Class

members have been placed at an imminent, immediate, and continuing increased risk of harm from

fraud and identity theft.

       62.     Plaintiff and Class members have or will suffer actual injury as a direct result of

the Data Breach including:

               a)      Spending time reviewing charges for any fraudulent charges and remedying
                       any fraudulent charges found;
               b)      Purchasing credit monitoring and identity theft prevention;
               c)      Requesting and reviewing their credit reports;
               d)      Spending time and money addressing and remedying identity theft;
               e)      Spending time placing “freezes” and “alerts” with credit reporting agencies
                       and, subsequently, temporarily lifting a security freeze on a credit report, or
                       removing a security freeze from a credit report;
               f)      Spending time on the phone with or visiting financial institutions to dispute
                       fraudulent charges;
               g)      Contacting their financial institutions and closing or modifying financial
                       accounts compromised as a result of the Data Breach; and
               h)      Closely reviewing and monitoring bank accounts and credit reports for
                       unauthorized activity for years to come.
       63.     Moreover, Plaintiff and Class members have an interest in ensuring that their

personal information is protected from further breaches by the implementation of security

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measures and safeguards, including making sure that the storage of data containing their personal

information is secure.

        64.       As a direct and proximate result of Defendants’ actions and inactions, Plaintiff and

Class members have suffered anxiety, emotional distress, and loss of privacy.

        65.       As a direct and proximate result of Defendants’ actions and inactions, Plaintiff and

Class members are at an increased and immediate risk of future harm, including from identity theft

and fraud.

        66.       As a result of the Data Breach, Plaintiff and Class members are at an imminent risk

of identity theft and fraud. This risk will continue to exist for years to come, as Plaintiff and Class

members must spend their time being extra vigilant, due to Defendants’ failures, to try to prevent

being victimized for the rest of their lives.

        67.       Because Defendants presented such an easy target to cyber criminals, Plaintiff and

Class members have already been subjected to violations of their privacy, and have been exposed

to a heightened and imminent risk of fraud and identity theft. Plaintiff and Class members must

now and in the future, spend time to more closely monitor their affected PII to guard against

identity theft and other fraud.

        68.       Plaintiff and Class members may also incur out-of-pocket costs for, among other

things, purchasing credit monitoring services or other protective measures to deter and detect

identity theft.

                                  CLASS ACTION ALLEGATIONS

        69.       Plaintiff brings this action pursuant to Fed. R. Civ. P. 23 on behalf of a class of

similarly situated individuals (the “Class”) defined as follows:

                  All individuals in the United States whose personally identifiable
                  information was accessed in the Data Breach announced by Defendants.

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       70.     Excluded from the Class are Defendants; any entity in which either Defendant has

a controlling interest, is a parent or subsidiary, or which is controlled by either Defendant; and

the affiliates, legal representatives, attorneys, heirs, predecessors, successors, and assigns of

Defendants. Also excluded are the judges and court personnel in this case and any members of

their immediate families.

       71.     Plaintiffs reserve the right to modify and/or amend the Class definition, including

but not limited to creating subclasses, as necessary.

       72.     Numerosity. The Class is so numerous that joinder of all members is impracticable.

The identities of all Class members are ascertainable through Defendants’ records. According to

the Texas Attorney General’s website, 6,733 Texas residents are Class members.

https://oagtx.force.com/datasecuritybreachreport/apex/DataSecurityReportsPage.

       73.     Commonality. There are numerous questions of law and fact common to Plaintiff

and Class members, including the following:

               ●       Whether and to what extent Defendants had a duty to protect the PII of
                       Plaintiff and Class members;

               ●       Whether Defendants had a duty not to disclose the PII of Plaintiff and Class
                       members to unauthorized third parties;

               ●       Whether Defendants had a duty not to use the PII of Plaintiff and Class
                       members for non-business purposes;

               ●       Whether Defendants failed to adequately safeguard the PII of Plaintiff and
                       Class members;

               ●       When Defendants actually learned of the Data Breach;

               ●       Whether Defendants adequately, promptly, and accurately informed
                       Plaintiff and Class members that their PII had been compromised;

               ●       Whether Defendants violated the law by failing to promptly notify Plaintiff
                       and Class members that their PII had been compromised;

               ●       Whether Defendants failed to implement and maintain reasonable security

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                       procedures and practices appropriate to the nature and scope of the
                       information compromised in the Data Breach;

               ●       Whether Defendants adequately addressed and fixed the vulnerabilities
                       which permitted the Data Breach to occur;

               ●       Whether Plaintiff and Class members are entitled to actual damages,
                       nominal damages, and/or exemplary damages as a result of Defendants’
                       wrongful conduct;

               ●       Whether Plaintiff and Class members are entitled to restitution as a result of
                       Defendants’ wrongful conduct; and

               ●       Whether Plaintiff and Class members are entitled to injunctive relief to
                       redress the imminent and currently ongoing harm faced as a result of the
                       Data Breach.

       74.     Typicality. Plaintiff’s claims are typical of the claims of the Class members because

Plaintiff, like all Class members, had his PII compromised, breached and stolen in the Data Breach.

Plaintiff and Class members were injured through Defendants’ uniform misconduct described in

this Complaint and assert the same claims for relief.

       75.     Adequacy. Plaintiff and his counsel will fairly and adequately protect the interests

of the Class. Plaintiff has retained counsel who are experienced in class actions and complex

litigation, including data privacy litigation of this kind. Plaintiff has no interests that are

antagonistic to, or in conflict with, the interests of other members of the Class.

       76.     Predominance. The questions of law and fact common to Class members

predominate over any questions which may affect only individual members.

       77.     Superiority. A class action is superior to other available methods for the fair and

efficient adjudication of the controversy. Class treatment of common questions of law and fact is

superior to multiple individual actions or piecemeal litigation. Moreover, absent a class action,

most Class members would find the cost of litigating their claims prohibitively high and would

therefore have no effective remedy, so that in the absence of class treatment, Defendants’


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violations of law inflicting substantial damages in the aggregate would go unremedied without

certification of the Class. Plaintiff and Class members have been harmed by Defendants’ wrongful

conduct and/or action.

       78.     Litigating this action as a class action will reduce the possibility of repetitious

litigation relating to Defendants’ conduct and/or inaction. No difficulties would be encountered in

this litigation that would preclude its maintenance as a class action.

       79.     Class certification, therefore, is appropriate under Fed. R. Civ. P. 23(b)(3), because

the above common questions of law or fact predominate over any questions affecting individual

members of the Class, and a class action is superior to other available methods for the fair and

efficient adjudication of this controversy.

       80.     Class certification is also appropriate under Fed. R. Civ. P. 23(b)(2), because

Defendants have acted or refused to act on grounds that apply generally to the Class so that final

injunctive relief or corresponding declaratory relief is appropriate respecting the Class as a whole.

                                              COUNT I
                                              Negligence

       81.     Plaintiff repeats and realleges the allegations of the paragraphs 1–80 with the same

force and effect as though fully set forth herein.

       82.     Defendants’ actions and inactions were of the type that would result in foreseeable,

unreasonable risk of harm to Plaintiff and Class members. Defendants knew, or should have

known, of the risks inherent in collecting and storing the personal information of Plaintiff and

Class members and the importance of adequate security in storing the information. Additionally,

Defendants are aware of numerous, well-publicized data breaches that exposed the personal

information of individuals.




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       83.     Defendants had a common law duty to prevent foreseeable harm to Plaintiff’s and

Class members’ PII. This duty existed because Plaintiff and Class members were the foreseeable

and probable victims of the failure of Defendants to adopt, implement, and maintain reasonable

security measures so that Plaintiff’s and Class members’ personal information would not be

unsecured and accessible by unauthorized persons.

       84.     Defendants had a special relationship with Plaintiff and Class members. Defendants

were entrusted with Plaintiff’s and Class members’ personal information, and Defendants were in

a position to protect the personal information from unauthorized access.

       85.     The duties of Defendants also arose under section 5 of the FTC Act, which prohibits

“unfair . . . practices in or affecting commerce,” including, as interpreted and enforced by the FTC,

the unfair practice of failing to use reasonable measures to protect individuals’ personal

information by companies. Various FTC publications and data security breach orders further form

the basis of the duties of Defendants.

       86.     Defendants had a duty to exercise reasonable care in obtaining, retaining, securing,

safeguarding, deleting, and protecting Plaintiff’s and Class members’ personal information in their

possession so that the PII would not come within the possession, access, or control of unauthorized

persons.

       87.     More specifically, the duties of Defendants included, among other things, the

following duties, and Defendants carelessly and negligently acted or failed to act in one or more

of the following ways:

               a.      Failing to conduct proper and reasonable due diligence over their data
                       security systems, practices, and procedures;

               b.      Failing to adopt, implement, and maintain adequate security measures for
                       protecting an individual’s personal information to ensure that the
                       information is not accessible online by unauthorized persons;

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                c.     Failing to adopt, implement, and maintain adequate security measures for
                       deleting or destroying personal information when Defendants’ business
                       needs no longer required such information to be stored and maintained; and

                d.     Failing to adopt, implement, and maintain processes to quickly detect a data
                       breach and to promptly act on warnings about data breaches, and notify
                       affected persons without unreasonable delay.

          88.   Defendants breached the foregoing duties to exercise reasonable care in obtaining,

retaining, securing, safeguarding, deleting, and protecting personal information in their possession

so that the information would not come within the possession, access, or control of unauthorized

persons.

          89.   Defendants acted with reckless disregard for the security of the personal

information of Plaintiff and Class members because Defendants knew or should have known that

their data security was not adequate to safeguard the personal information that was collected and

stored.

          90.   Defendants acted with reckless disregard for the rights of Plaintiff and Class

members by failing to promptly detect the Data Breach, and further, by failing to notify Plaintiff

and Class members of the Data Breach in the most expedient time possible and without

unreasonable delay pursuant to common law duties to provide reasonably timely and truthful data-

breach notification, so that Plaintiff and Class members could promptly take measures to protect

themselves from the consequences of the unauthorized access to the personal information

compromised in the Data Breach.

          91.   As a result of the unlawful conduct of Defendants, Plaintiff and Class members

have suffered and will continue to suffer foreseeable harm, including, but not limited to, imminent

risk of identity theft; expenses and/or time spent on credit monitoring for a period of years;

scrutinizing bank statements, credit card statements, and credit reports; time spent initiating fraud

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alerts and credit freezes and subsequently temporarily lifting credit freezes; and increased risk of

future harm. Further, Plaintiff and Class members have suffered and will continue to suffer other

forms of injury and/or harm including, but not limited to, anxiety, emotional distress, loss of

privacy, and other economic and non-economic losses.

                                              COUNT II
                                           Negligence Per Se

        92.     Plaintiff repeats and realleges the allegations of paragraphs 1–80 with the same

force and effect as though fully set forth herein.

        93.     “Section 5 of the FTC Act [15 U.S.C. § 45] is a statute that creates enforceable

duties, and this duty is ascertainable as it relates to data breach cases based on the text of the statute

and a body of precedent interpreting the statute and applying it to the data beach context.” In re

Capital One Consumer Data Sec. Breach Litig., 488 F. Supp. 3d 374, 407 (E.D. Va. 2020). “For

example, in F.T.C. v. Wyndham Worldwide Corp., 799 F.3d 236, 240 (3d Cir. 2015), the United

States Court of Appeals for the Third Circuit affirmed the FTC’s enforcement of Section 5 of the

FTC Act in data breach cases.” Capital One Data Security Breach Litigation, 488 F. Supp. 3d at

407.

        94.     Defendants also engaged in conduct declared unlawful under the Safeguards Rule,

16 C.F.R. part 314, promulgated by the FTC pursuant to authority delegated by Congress under

the Gramm-Leach-Bliley Act, 15 U.S.C. § 6801(b), to establish standards for financial institutions

relating to administrative, technical, and physical safeguards for nonpublic information, including

Plaintiff’s and Class members’ PII.

        95.     16 C.F.R. § 314.4 provides:

                In order to develop, implement, and maintain your information security program,

        [a financial institution] shall:

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                (a)     Designate an employee or employees to coordinate your

         information security program.

                (b)     Identify reasonably foreseeable internal and external risks to

         the security, confidentiality, and integrity of customer information that

         could result in the unauthorized disclosure, misuse, alteration, destruction

         or other compromise of such information, and assess the sufficiency of any

         safeguards in place to control these risks. At a minimum, such a risk

         assessment should include consideration of risks in each relevant area of

         your operations, including:

                        (1)    Employee training and management;

                        (2)    Information     systems,   including    network    and

                software design, as well as information processing, storage,

                transmission and disposal; and

                        (3)    Detecting, preventing and responding to attacks,

                intrusions, or other systems failures.

                (c)     Design and implement information safeguards to control the

         risks you identify through risk assessment, and regularly test or otherwise

         monitor the effectiveness of the safeguards’ key controls, systems, and

         procedures.

                (d)     Oversee service providers, by:

                        (1)    Taking reasonable steps to select and retain service

                providers that are capable of maintaining appropriate safeguards for

                the customer information at issue; and



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                                (2)     Requiring your service providers by contract to

                        implement and maintain such safeguards.

                        (e)     Evaluate and adjust your information security program in

                 light of the results of the testing and monitoring required by paragraph (c)

                 of this section; any material changes to your operations or business

                 arrangements; or any other circumstances that you know or have reason to

                 know may have a material impact on your information security program.

        16 C.F.R. § 314.4.

        96.      The Safeguards Rule is a process-based rule drafted using intentionally broad language and

not incorporating any specific information security standard or framework to allow financial institutions

flexibility to “shape the information security programs to their particular business and to allow the

programs to adapt to changes in technology and threats to the security and integrity of customer

information.”9

        97.      Defendants are financial institutions.

        98.      Plaintiff’s and Class members’ nonpublic personal information was and is customer

information.

        99.      Defendants committed unlawful acts by failing to comply with the requirements of the

Safeguards Rule, including but not limited to, failing to:

                 ●      Upgrade and maintain their data security systems in a meaningful way so as

                        to prevent the Data Breach;

                 ●      Replace email filtering tools, malware software, and Internet monitoring



9
 Fed. Trade Comm’n, Standards for Safeguarding Customer Information, 84 Fed. Reg. 13158, 13159
(Apr. 4, 2019), also available at https://www.federalregister.gov/documents/2019/04/04/2019-
04981/standards-for-safeguarding-customer- information.
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               tools with more robust solutions that utilize artificial intelligence (“AI”) to

               detect and block known and newly introduced malware;

         ●     Block all inbound and outbound Internet, email, and network traffic to

               foreign countries;

         ●     Maintain a secure firewall configuration;

         ●     Monitor for suspicious or irregular traffic to servers;

         ●     Monitor for suspicious credentials used to access servers;

         ●     Monitor for suspicious or irregular activity by known users;

         ●     Monitor for suspicious or unknown users;

         ●     Monitor for suspicious or irregular server requests;

         ●     Monitor for server requests for personal and financial information;

         ●     Monitor for server requests from VPNs;

         ●     Monitor for server requests from Tor exit nodes;

         ●     Identify all connections to the computers where Defendants store sensitive

               information;

         ●     Assess the vulnerability of each connection to commonly known or

               reasonably foreseeable attacks;

         ●     Scan computers on Defendants’ network to identify and profile the

               operating system and open network services, and disable services that are

               not needed to prevent hacks or other potential security problems;

         ●     Pay particular attention to the security of Defendants’ web applications—

               the software used to give information to visitors to their websites and to

               retrieve information from them;


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           ●      Use a firewall to protect Defendants’ computers from hacker attacks while

                  they are connected to a network, especially the Internet;

           ●      Not store sensitive consumer data on any computer with an internet

                  connection unless it is essential for conducting their business;

           ●      Determine whether a border firewall should be installed where the

                  business’s network connects to the internet. A border firewall separates the

                  network from the internet and may prevent an attacker from gaining access

                  to a computer on the network where sensitive information is stored. Set

                  access controls—settings that determine which devices and traffic get

                  through the firewall—to allow only trusted devices with a legitimate

                  business need to access the network. Since the protection a firewall provides

                  is only as effective as its access controls, they should be reviewed

                  periodically;

           ●      Monitor incoming traffic for signs that someone is trying to hack in. Keep

                  an eye out for activity from new users, multiple log-in attempts from

                  unknown users or computers, and higher-than-average traffic at unusual

                  times of the day; and

           ●      Monitor outgoing traffic for signs of a data breach. Watch for unexpectedly

                  large amounts of data being transmitted from their system to an unknown

                  user. If large amounts of information are being transmitted from a business’

                  network, the transmission should be investigated to make sure it is

                  authorized.

    100.   Plaintiff’s and Class members’ PII was and is nonpublic personal information and



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customer information.

           101.   Plaintiff and Class members are in the group of persons the FTC Act and

Safeguards Rule were enacted and implemented to protect, and the harms they suffered in the Data

Breach were the types of harm they were designed to prevent.

           102.   As a result of the conduct of Defendants that violated the FTC Act and Safeguards

Rule, Plaintiff and Class members have suffered and will continue to suffer foreseeable harm.

Plaintiff and Class members have suffered actual damages including, but not limited to, imminent

risk of identity theft; expenses and/or time spent on credit monitoring for a period of years;

scrutinizing bank statements, credit card statements, and credit reports; time spent initiating fraud

alerts and credit freezes and subsequently temporarily lifting credit freezes; and increased risk of

future harm. Further, Plaintiff and Class members have suffered and will continue to suffer other

forms of injury and/or harm including, but not limited to, anxiety, emotional distress, loss of

privacy, and other economic and non-economic losses.

                                           COUNT III
                                    Breach of Implied Contract

           103.   Plaintiff repeats and realleges the allegations of paragraphs 1–80 with the same

force and effect as though fully set forth herein.

           104.   Defendants acquired and maintained the PII of Plaintiff and Class members.

           105.   At the time Defendants acquired the PII of Plaintiff and Class members, there was

a meeting of the minds and a mutual understanding that Defendants would safeguard the PII using

reasonable security measures and not take unjustified risks when collecting, digitizing, and storing

the PII.




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       106.    Plaintiff and Class members would not have entrusted their PII to Defendants had

they known that Defendants would make the PII vulnerable and fail to take reasonable precautions,

such as encrypting the data while in storage, and deleting PII that was no longer necessary.

       107.    Defendants promised to comply with industry standards and to ensure that

Plaintiff’s and Class members’ PII would remain protected.

       108.    Implicit in the agreements between Plaintiff and Class members and Defendants to

provide their PII to Defendants was Defendants’ obligation to:

               a.      Use the PII for business purposes only;

               b.      Take reasonable steps to protect and safeguard the PII from known and

                       foreseeable risks;

               c.      Prevent unauthorized disclosures of the PII;

               d.      Provide Plaintiff and Class members with prompt and sufficient notice of

                       instances where unauthorized access to the PII is reasonably suspected; and

               e.      Reasonably safeguard and protect the PII of Plaintiff and Class members

                       from unauthorized disclosures or uses.

       109.    In collecting and maintaining the PII of Plaintiff and Class members and publishing

and disseminating privacy policies, Defendants entered into contracts to protect and keep security

over the PII of Plaintiff and Class members.

       110.    Plaintiff and Class members fully performed under their contract with Defendants.

       111.    Defendants breached the contracts by failing to protect and keep private the

personal information of Plaintiff and Class members, including by failing to: (i) encrypt or tokenize

the sensitive PII of Plaintiff and Class members, (ii) delete such PII that Defendants no longer had

reason to maintain, (iii) eliminate the potential accessibility of the PII from the Internet where such



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accessibility was not justified, and (iv) otherwise review and improve the security of the network

system that contained such PII.

       112.    Defendants also breached a duty to provide reasonably expedient and sufficient

notification of the Data Breach.

       113.    As a result of Defendants’ breach of implied contract, Plaintiff and Class members

have suffered and will continue to suffer foreseeable harm. Plaintiff and Class members have

suffered actual damages including, but not limited to, imminent risk of identity theft; expenses

and/or time spent on credit monitoring for a period of years; scrutinizing bank statements, credit

card statements, and credit reports; time spent initiating fraud alerts and credit freezes and

subsequently temporarily lifting credit freezes; and increased risk of future harm. Further, Plaintiff

and Class members have suffered and will continue to suffer other forms of injury and/or harm

including, but not limited to, anxiety, emotional distress, loss of privacy, and other economic and

non-economic losses.

                                           COUNT IV
                                        Invasion of Privacy

       114.    Plaintiff repeats and realleges the allegations of paragraphs 1–80 with the same

force and effect as though fully set forth herein.

       115.    The State of Utah recognizes the tort of invasion of privacy:

               The elements of an invasion-of-privacy claim are: (1) the disclosure of the
               private facts must be a public disclosure and not a private one; (2) the facts
               disclosed to the public must be private facts, and not public ones; (3) the
               matter made public must be one that would be highly offensive and
               objectionable to a reasonable person of ordinary sensibilities.

See Shattuck-Owen v. Snowbird Corp, 2000 UT 94, 16 P.3d 555 (2000) (citing Stien v. Marriott

Ownership Resorts, Inc., 944 P.2d 374, 380 (Utah Ct. App. 1997) (quoting W. Page Keeton et al.,

Prosser and Keeton on the Law of Torts § 117 856–57 (5th ed.1984) (footnote omitted))).

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       116.    Plaintiff and Class members had a reasonable expectation of privacy in the PII that

Defendants mishandled.

       117.    Defendants’ conduct as alleged above intruded upon Plaintiff’s and Class members’

seclusion under common law.

       118.    By intentionally failing to keep Plaintiff’s and Class members’ PII safe, and by

intentionally misusing and/or disclosing said information to unauthorized parties for unauthorized

use, Defendants intentionally invaded Plaintiff’s and Class members’ privacy by:

               a.     Intentionally and substantially intruding into Plaintiff’s and Class members’

                      private affairs in a manner that identifies Plaintiff and Class members and

                      that would be highly offensive and objectionable to an ordinary person;

               b.     Intentionally publicizing private facts about Plaintiff and Class members,

                      which is highly offensive and objectionable to an ordinary person; and

               c.     Intentionally causing anguish or suffering to Plaintiff and Class members.

       119.    Defendants knew that an ordinary person in Plaintiff’s or a Class member’s position

would consider Defendants’ intentional actions to be highly offensive and objectionable.

       120.    Defendants invaded Plaintiff’s and Class members’ right to privacy and intruded

into Plaintiff’s and Class members’ seclusion by intentionally misusing and/or disclosing their PII

without their informed, voluntary, affirmative, and clear consent.

       121.    Defendants intentionally concealed from Plaintiff and Class members an incident

that misused and/or disclosed their PII without their informed, voluntary, affirmative, and clear

consent.

       122.    As a proximate result of such intentional misuse and disclosures, Plaintiff’s and

Class members’ reasonable expectations of privacy in their PII was unduly frustrated and thwarted.



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        123.      Defendants’ conduct, amounting to a substantial and serious invasion of Plaintiff’s

and Class members’ protected privacy interests, caused anguish and suffering such that an ordinary

person would consider Defendants’ intentional actions or inaction highly offensive and

objectionable.

        124.      In failing to protect Plaintiff’s and Class members’ PII, and in intentionally

misusing and/or disclosing their PII, Defendants acted with intentional malice and oppression and

in conscious disregard of Plaintiff’s and Class members’ rights to have such information kept

confidential and private.

                                      PRAYER FOR RELIEF

        WHEREFORE Plaintiff Tracy Tanner, individually and on behalf of the Class, requests

that the Court:

                  A.     Certify this case as a class action on behalf of the Class defined above,
                         appoint Plaintiff as the Class representative, and appoint the undersigned
                         counsel as Class counsel;

                  B.     Award declaratory, injunctive and other equitable relief as is necessary to
                         protect the interests of Plaintiff and Class members;

                  C.     Award restitution and damages to Plaintiff and Class members in an amount
                         to be determined at trial;

                  D.     Award Plaintiff and Class members their reasonable litigation expenses and
                         attorneys’ fees to the extent allowed by law;

                  E.     Award Plaintiff and Class members pre- and post-judgment interest, to the
                         extent allowable; and

                  F.     Award such other and further relief as equity and justice may require.


                                   DEMAND FOR JURY TRIAL

        Plaintiff Tracy Tanner demands a trial by jury of any and all issues in this action so triable

of right.

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                                 Plaintiff Tracy Tanner, individually and on behalf of
                                 all others similarly situated,


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                                 Counsel for Plaintiff Tracy Tanner and the putative
                                 Class




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